Case 1:19-cv-24184-MGC Document 43-1 Entered on FLSD Docket 08/07/2020 Page 1 of 74



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Case 1:19-cv-24184-MGC Document 43-1 Entered on FLSD Docket 08/07/2020 Page 31 of 74


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Case 1:19-cv-24184-MGC Document 43-1 Entered on FLSD Docket 08/07/2020 Page 48 of 74


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Case 1:19-cv-24184-MGC Document 43-1 Entered on FLSD Docket 08/07/2020 Page 63 of 74

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    Case 1:19-cv-24184-MGC Document 43-1 Entered on FLSD Docket 08/07/2020 Page 74 of 74

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